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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     HON. ROY K. ALTMAN

                      ORDER SCHEDULING STATUS CONFERENCES

         The Plaintiffs’ Complaints allege violations of one of the following: the Americans with

  Disabilities Act (the “ADA”), 42 U.S.C. § 12181, et seq, Fair Labor Standards Act (the

  “FLSA”), 29 U.S.C. § 203, the Fair Debt Collection Practices Act (the “FDCPA”), 15 U.S.C. §§

  1692–1692p, et seq, or the Telephone Consumer Protection Act (the “TCPA”), 47 U.S.C. § 227.

         Consistent with the Court’s practices in such cases, counsel are directed to appear at a

  status conference on Wednesday, November 18, 2020. Matters scheduled for consideration at

  this session are listed below with corresponding times. The conference will be conducted

  telephonically. At that time, the parties shall dial 1-888-363-4734 and enter access code

  9127026, followed by the # symbol. Counsel must not utilize speakerphone functionality during

  the hearing. If possible, counsel should use a landline. Accordingly, the Court hereby ORDERS

  as follows:

            1.   The Clerk is DIRECTED to file this Order in each of the below cases.

            2.   The parties are not personally required to appear, but a representative of each

                 party with full authority to enter a full and complete compromise must appear.

            3.   If an agreement is reached, the parties shall promptly notify the Court.

            4.   The Plaintiff’s counsel must appear with the entire case file. If any of the

                 Defendants has not yet appeared, the Plaintiff must serve a copy of this

                 Order on any such Defendant within two business days of the date of this

                 Order.
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         5.    Counsel are ORDERED to dial in ten minutes before their designated call in

               time—and to confer with opposing counsel beforehand to confirm mutual

               attendance.

              a.      20-cv-62265 – Brito v. ARCP RL Portfolio VI LLC et al.

                     i.      Call in time: 2:30 p.m.

              b.      20-cv-81524 – Cohan v. BCore Select Raven 1 TRS, LLC

                     i.      Call in time: 2:45 p.m.

              c.      20-cv-82002 – Cohan v West Boynton Auto Servs. Inc.

                     i.      Call in time: 3:00 p.m.

              d.      20-cv-82013 – Fernandez v. Capitol Lighting EH Divisions, Inc.

                     i.      Call in time: 3:15 p.m.

              e.      20-cv-62222 – Edwards v. Friedman Assocs. et al.

                     i.      Call in time: 3:30 p.m.

              f.      20-cv-61475 – Walowitz v. Corporate Coaches, Inc. et al.

                     i.      Call in time: 3:45 p.m.

              g.      20-cv-62025 – Standifer et al. v. Persaud Holdings LLC et al.

                     i.      Call in time: 4:00 p.m.

              h.      20-cv-60885 – Thompson v. Fort Lauderdale Law Grp.

                     i.      Call in time: 4:15 p.m.

              i.      20-cv-81910 – Parks et al. v. Bluegreen Vacations Corp.

                     i.      Call in time: 4:30 p.m.




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        DONE AND ORDERED in Fort Lauderdale, Florida, this 10th day of November 2020.




                                                 _________________________________
                                                 ROY K. ALTMAN
                                                 UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
